        Case 1:13-cr-00136-DAD-BAM Document 180 Filed 12/16/13 Page 1 of 4


1    BENJAMIN B. WAGNER
     United States Attorney
2    GRANT B. RABENN
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
     Attorneys for the
6      United States of America
7

8                        IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                       Plaintiff,     ) PRELIMINARY ORDER OF
                                        ) FORFEITURE
13        v.                            )
                                        )
14   CINDY DOEUM,                       )
                                        )
15                       Defendant.     )
                                        )
16                                      )
17       Based upon the plea agreements entered into between United

18   States of America and defendant Cindy Doeum, it is hereby

19   ORDERED, ADJUDGED AND DECREED as follows:

20       1.    Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

21   and 31 U.S.C. § 5317(c)(1), and 31 U.S.C. § 5317(c)(2), defendant

22   Cindy Doeum’s interest in the following property shall be condemned

23   and forfeited to the United States of America, to be disposed of

24   according to law:

25             a.   $147,900 in U.S. Currency seized from safe deposit ox
                    located at Bank of America branch in Modesto,
26                  California, held in the name of Say Eng and Sdey Chim;
27             b.   $7,500 in U.S. Currency seized from an U.S. Express
                    Mail envelope en route from Lowell, Massachusetts to
28                  Modesto, California;

29
                                           1         Preliminary Order of Forfeiture
30
           Case 1:13-cr-00136-DAD-BAM Document 180 Filed 12/16/13 Page 2 of 4


1                c.    Yugo 59/60 model semi-automatic firearm with serial
                       number K423900, and ammunition located inside magazine;
2
                 d.    Norinco SKS model semi-automatic firearm with serial
3                      number 013018-DB013018;
4                e.    Savage Arms Mark 2 model semi-automatic firearm with
                       serial number 0461075;
5
                 f.    Ruger 10/22 model semi-automatic firearm with serial
6                      number 24292833;
7                g.    Winchester 68-22 model firearm with unknown serial
                       number;
8
                 h.    Norinco 90 model 12-gauge shotgun with serial number
9                      0028157;
10               i.    Sterling Arms CASSI model grease gun style firearm with
                       serial number 586960215SC2626;
11
                 j.    Phoenix Arms HP22 model firearm with serial number
12                     4173214;
13               k.    Smith & Wesson Air-weight 38 special model firearm with
                       serial number 27050, and ammunition located inside
14                     magazine;
15               l.    Smith & Wesson Air-weight 38 special model firearm with
                       serial number 27050, and ammunition located inside
16                     magazine;
17               m.    Taurus PT 247 pRO model firearm with serial number
                       NZA81494, and ammunition located inside magazine;
18
                 n.    Gabilondo Llama 9mm firearm with serial number 212778;
19
                 o.    Phoenix Arms HP22 model firearm with serial number
20                     4097953, and ammunition located inside magazine;
21               p.    Colt Automatic 22 model firearm with serial number
                       38829;
22
                 q.    Ruger Mark 3 model firearm with serial number 22712865;
23
                 r.    Springfield Armory xd 9 model firearm with serial
24                     number US862231, and ammunition located inside
                       magazine;
25
                 s.    Para Ordinance C7-45LDA model firearm with serial
26                     number CC1428, and ammunition located inside magazine.
27               t.    Norinco 54-1 model firearm with serial number 5011651;
28   ///
29
                                              2         Preliminary Order of Forfeiture
30
        Case 1:13-cr-00136-DAD-BAM Document 180 Filed 12/16/13 Page 3 of 4


1             u.    Smith & Wesson 38+P model firearm with serial number
                    5001502, and ammunition located inside magazine;
2
              v.    Glock 22 model firearm with serial number GVN475, and
3                   ammunition located inside magazine;
4             w.    FNMI 49 model firearm with serial number 517MM10580;
5             x.    Mach 10 Cobray model upper part with unknown serial
                    number;
6
              y.    Glock 21 pistol with obliterated serial number; and
7
              z.    Remington 870 shotgun with serial number D693276M.
8

9        2.   The above-listed assets constitute property which

10   constitutes, is derived from proceeds traceable to, or are involved

11   in a violation of 18 U.S.C. § 371 and 31 U.S.C. § 5324(a)(3).

12       3.   Pursuant to Rule 32.2(b), the Attorney General (or a

13   designee) shall be authorized to seize the above-listed property.

14   The aforementioned property shall be seized and held by the

15   Department of the Treasury, Internal Revenue Service Criminal

16   Investigations, in its secure custody and control.

17       4.   a. Pursuant to 28 U.S.C. § 2461(c) and 31 U.S.C. §

18   5317(c)(1)(B), incorporating 21 U.S.C. § 853(n), and Local Rule 171,

19   the United States shall publish notice of the order of forfeiture.

20   Notice of this Order and notice of the Attorney General’s (or a

21   designee’s) intent to dispose of the property in such manner as the

22   Attorney General may direct shall be posted for at least 30

23   consecutive days on the official internet government forfeiture site

24   www.forfeiture.gov.    The United States may also, to the extent

25   practicable, provide direct written notice to any person known to

26   have alleged an interest in the property that is the subject of the

27   order of forfeiture as a substitute for published notice as to those

28   persons so notified.

29
                                           3         Preliminary Order of Forfeiture
30
         Case 1:13-cr-00136-DAD-BAM Document 180 Filed 12/16/13 Page 4 of 4


1                b. This notice shall state that any person, other than the

2    defendant, asserting a legal interest in the above-listed property,

3    must file a petition with the Court within sixty (60) days from the

4    first day of publication of the Notice of Forfeiture posted on the

5    official government forfeiture site, or within thirty (30) days from

6    receipt of direct written notice, whichever is earlier.

7          5.    If a petition is timely filed, upon adjudication of all

8    third-party interests, if any, this Court will enter a Final Order of

9    Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

10   and 31 U.S.C. § 5317(c)(1), and 31 U.S.C. § 5317(c)(2), in which all

11   interests will be addressed.

12
     IT IS SO ORDERED.
13

14   Dated: December 16, 2013
                                      SENIOR DISTRICT JUDGE
15

16

17

18

19

20

21

22

23

24

25

26
27

28

29
                                            4         Preliminary Order of Forfeiture
30
